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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 3.0
                               Eastern Division

Thomas Dunn, et al.
                                Plaintiff,
v.                                                    Case No.: 1:04−cv−06804
                                                      Hon. Robert W. Gettleman
City of Chicago
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, May 17, 2007:


       MINUTE entry before Judge Sidney I. Schenkier : Motion hearing held.
Defendant's motion for an extension of time to respond to plaintiffs' 3/21/07 discovery
request [141] is denied insofar that it seeks to argue that it is a proper objection to the
Request to Admit, But the Court grants the motion as to its request amend the defendant's
answers. The defendant is to answer the request to admit by 5/24/07. Any denials are to be
given with a full factual disclosure for the denial, including any required
documents.Mailed notice(mmm, )




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